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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


  IN RE KRAFT HEINZ SECURITIES                         Case No. 1:19-cv-01339
  LITIGATION
                                                       Honorable Robert M. Dow, Jr.




  CITY OF HOLLYWOOD POLICE                             Case No. 1:20-cv-01970
  OFFICERS’ RETIREMENT SYSTEM,
  Individually, and on Behalf of All Others            Honorable Sharon Johnson Coleman
  Similarly Situated,
  Plaintiff,
  v.
  THE KRAFT HEINZ COMPANY, 3G
  CAPITAL PARTNERS, 3G CAPITAL, INC.,
  3G GLOBAL FOOD HOLDINGS, L.P., 3G
  GLOBAL FOOD HOLDINGS GP LP, 3G
  CAPITAL PARTNERS LP, 3G CAPITAL
  PARTNERS II LP, 3G CAPITAL PARTNERS
  LTD., BERNARDO HEES, PAULO
  BASILIO, and ALEXANDRE BEHRING,
  Defendants.



    STIPULATION AND [PROPOSED] ORDER GRANTING LEAD PLAINTIFFS’
   MOTION TO CONSOLIDATE RELATED CASE AND VACATE PSLRA NOTICE

       WHEREAS, on February 24, 2019, an initial complaint in the above-captioned

consolidated securities class action (the “Consolidated Action”) was filed, asserting a class period

of May 4, 2017 through February 21, 2019, inclusive, ECF No. 1;

       WHEREAS, on February 24, 2019, a notice pursuant to the Private Securities Litigation

Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u–4, was issued;
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       WHEREAS, subsequent class actions were filed in Iron Workers District Council

(Philadelphia and Vicinity) Retirement and Pension Plan, et al. v. The Kraft Heinz Co. et al., Case

No. 19-cv-1845 and Timber Hill LLC v. The Kraft Heinz Co. et al., Case No. 19-cv-2807, asserting

class periods of July 6, 2015 through February 21, 2019;

       WHEREAS, various movants filed motions to be appointed as lead plaintiffs and

consolidate the related class actions, ECF Nos. 40, 46, 49, 52, 57, and 61;

       WHEREAS, on October 8, 2019, the Court issued an order consolidating the related actions

and appointing Sjunde AP-Fonden (“AP7”) and Union Asset Management Holding AG (“Union”)

(together, “Lead Plaintiffs”) as Lead Plaintiffs in the Consolidated Action (“Lead Plaintiff Order”),

ECF No. 149;

       WHEREAS, on January 6, 2020, Lead Plaintiffs and additional named Plaintiff Booker

Enterprises Pty Ltd. filed the Consolidated Class Action Complaint, asserting a class period of

November 5, 2015 to August 7, 2019, inclusive (the “Class Period”), ECF No. 179;

       WHEREAS, on March 25, 2020, plaintiff in City of Hollywood Police Officers’ Retirement

System v. The Kraft Heinz Co., No. 1:20-cv-1970-SJC (N.D. Ill. Mar. 25, 2020) (“Hollywood

Police Action”) filed a related putative class action asserting claims for a class period of July 2,

2015 to November 4, 2015, inclusive, ECF No. 1;

       WHEREAS, on March 28, 2020, plaintiff in the Hollywood Police Action issued a notice

pursuant to the PSLRA for anyone seeking to be appointed lead plaintiff in that action to file a

motion for appointment by May 27, 2020;

       WHEREAS, by motion dated April 3, 2020 (“the Motion”), Lead Plaintiffs moved to (i)

consolidate the Hollywood Police Action with the Consolidated Action, and (ii) vacate the PSLRA

notice issued by plaintiff in the Hollywood Police Action, ECF No. 223;




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       WHEREAS, Lead Plaintiffs and plaintiff in the Hollywood Police Action agree that the

Hollywood Police Action should be consolidated with the Consolidated Action, and the

Hollywood Police Action PSLRA notice should be vacated; and

       WHEREAS, plaintiff in the Hollywood Police Action does not intend to prosecute the

Hollywood Police Action as a class action.

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

       1.     Pursuant to Fed. R. Civ. P. 42(a), City of Hollywood Police Officers’ Retirement

              System v. The Kraft Heinz Co., No. 1:20-cv-1970-SJC, is hereby consolidated with

              In re Kraft Heinz Securities Litigation, No. 1:19-cv-1339.

       2.     The PSLRA notice published by City of Hollywood Police Officers’ Retirement

              System, through its counsel, on or about March 28, 2020, is hereby vacated.

       3.     Within two business days following entry of this Stipulation and [Proposed] Order

              by the Court, plaintiff in the Hollywood Police Action shall issue a public notice

              notifying all investors that the previously issued PSLRA notice and any deadlines

              set forth in that notice, are vacated.


Dated: April 22, 2020                                   Respectfully submitted,


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Counsel for the City of Hollywood Police
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SO ORDERED.



DATED:
                                           THE HONORABLE ROBERT M. DOW, JR.
                                           UNITED STATES DISTRICT JUDGE




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